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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JAMES FRASER,

       Plaintiff,
                                              CIVIL ACTION No.
v.                                            ____________________

THE PENNSYLVANIA STATE                        ELECTRONICALLY FILED
UNIVERSITY, a Pennsylvania
educational institution; DR. ROBERT
PAULSON, an individual, in his official
and individual capacities; DR.
MELISSA ROLLS, an individual, in her
official and individual capacities; DR.
ANDREW READ, an individual, in his
official and individual capacities;
KEYSTONE NANO, INC., a
Pennsylvania business corporation; and
DR. MARK KESTER, an individual, in
his official and individual capacities;

       Defendants.


                     COMPLAINT AND JURY DEMAND

      NOW COMES, Plaintiff James Fraser (“Mr. Fraser” or “Plaintiff”), by and

through his attorneys, Jason J. Bach, of The Bach Law Firm, LLC, and Michael A.

Farnan, of Farnan Law Office, and files the within Complaint in Civil Action against

The Pennsylvania State University, Dr. Robert Paulson, Dr. Melissa Rolls, Dr.

Andrew Read, Keystone Nano, Inc., and Dr. Mark Kester (collectively,

“Defendants”), and in support thereof avers as follows:
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 I.    JURISDICTION AND VENUE

       1.     This Court has jurisdiction over this matter under 28 U.S.C. §§ 1331

 and 1343(3) because at least one of Mr. Fraser’s claims raises a federal (civil rights)

 question.

       2.     This Court has supplemental jurisdiction over Mr. Fraser’s other, non-

 federal question claims under 28 U.S.C. § 1367 because those claims are both related

 to Mr. Fraser’s federal claims and part of the same case or controversy.

       3.     This Court further has diversity jurisdiction over this matter pursuant

 to 28 U.S.C. § 1332(a), insofar as the amount in controversy exceeds $75,000 and

 the Plaintiff’s domiciliary state is not shared with any of the Defendants.

       4.     Venue in this District is proper under 28 U.S.C. § 1391(a).

II.    PARTIES

       5.     Plaintiff, Mr. Fraser, is a natural person residing in Suffolk County,

 Commonwealth of Massachusetts, having an address at 75 St. Alphonsus Street,

 Apartment 2001, Boston, MA 02120. At substantially all times relevant hereto, Mr.

 Fraser was a doctoral candidate in the Molecular, Cellular and Integrative

 Biosciences Graduate Program (the “Program”) at Pennsylvania State University.

       6.     Defendant, The Pennsylvania State University (“Penn State” or the

 “University”), is a public university primarily established and operated in the




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Commonwealth of Pennsylvania and has an address for the purposes of service at its

principal place of business at 201 Old Main, University Park, PA 16802.

      7.     Defendant, Dr. Robert Paulson (“Dr. Paulson”), is an individual who,

at all times relevant to the matters herein, was employed by Penn State as a faculty

member within its Department of Veterinary and Biomedical Sciences.              Dr.

Paulson’s address for the purposes of service is 108B Research Building A,

University Park, PA 16802. He is sued in both his individual capacity and official

capacity.

      8.     Defendant, Dr. Melissa Rolls (“Dr. Rolls”), is an individual who, at all

times relevant to the matters herein, was employed by Penn State as a faculty

member within its Department of Biochemistry and Molecular Biology. Dr. Rolls’

address for the purposes of service is 118 Huck Life Sciences, University Park, PA

16802. She is sued in both her individual capacity and official capacity.

      9.     Defendant, Dr. Andrew Read (“Dr. Read”), is an individual who, at all

times relevant to the matters herein, was employed by Penn State as a faculty

member within its Department of Entomology. Dr. Read’s address for the purposes

of service is 201 Huck Life Sciences, University Park, PA 16802. He is sued in both

his individual capacity and official capacity.

      10.    Defendant, Keystone Nano, Inc. (“Keystone Nano”), is a business

corporation primarily established and operated in the Commonwealth of


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Pennsylvania, and has an address for the purposes of service at its principal place of

business at 158 Roundhill Rd., Boalsburg, PA 16827.

       11.   Defendant, Mark Kester, Ph.D. (“Dr. Kester,” and, together with Dr.

Paulson, Dr. Rolls, and Dr. Read, collectively, the “Individual Defendants”), is an

individual, who at all times relevant to the matters herein, was believed to be

employed as Chief Technology Officer by Keystone Nano. Dr. Kester’s address for

the purposes of service is 158 Roundhill Rd., Boalsburg, PA 16827. He is sued in

both his individual capacity and official capacity.

III.   FACTS

       12.   The basis for this action is the University’s wrongful discharge of Mr.

Fraser from the Program, in violation of his rights under federal and state law, and

the other defendants’ involvement in that and other wrongful conduct.

       A.    BACKGROUND ON MR. FRASER’S ACADEMIC AND
             SCIENTIFIC ACCOMPLISHMENTS, AND HIS INDUCTION
             INTO THE PENN STATE PROGRAM.

       13.   Mr. Fraser matriculated at Penn State in the fall 2014 term to begin his

doctoral studies in the Program.

       14.   Prior to enrolling in the Program, Mr. Fraser had an extremely

impressive academic and scientific background, having worked as a research

scientist at Massachusetts General Hospital in Boston, one of the most prestigious




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hospitals in the world, and he then worked for a biotech start-up pioneering cutting

edge medical science.

      15.    Mr. Fraser’s achievements prior to enrolling at Penn State included

numerous presentations and peer-reviewed publications, including authorship credit

for a chapter of Harrison’s Manual of Oncology, one of the most prevalent medical

textbooks in the country, in addition to numerous other academic awards and

accolades.

      16.    After enrolling in the Program, Mr. Fraser continued to be recognized

for his accomplishments, receiving multiple grant awards and fellowships (including

one from the National Institutes of Health), in addition to numerous other academic

awards and accolades.

      17.    Mr. Fraser accomplished all this despite suffering from chronic

hemophilia, an inherited bleeding disorder in which the blood does not clot properly,

which required frequent hospital stays and caused him to suffer severe bouts of

illness for extended periods of time.

      18.    Defendants were well aware of Mr. Fraser’s condition during all the

time period detailed herein, given that it required no less than three extended hospital

stays during his Ph.D. work.

      19.    In recognition of his prior accomplishments, Mr. Fraser was inducted

into the Program at Penn State with no less than three fellowships.


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      20.    Mr. Fraser progressed apace through the Program’s curricular

requirements and passed his Qualifying Examination and Comprehensive

Examination on December 17, 2015, and November 21, 2016, respectively, thus

beginning his doctoral candidacy.

      B.     MR. FRASER HAD A TURBULENT PRIOR RELATIONSHIP
             WITH HIS THESIS ADVISOR, DEFENDANT PAULSON, THAT
             WOULD LEAD TO A LASTING GRUDGE ON PAULSON’S
             PART.

      21.    Shortly thereafter, Mr. Fraser began working with Dr. Paulson as his

thesis advisor.

      22.    Pursuant to his thesis work, Mr. Fraser began working in Dr. Paulson’s

lab at Penn State in or about the summer 2015.

      23.    Shortly thereafter, Dr. Paulson began tasking Mr. Fraser with additional

responsibilities that were beyond the scope of his fellowships and thesis duties.

      24.    These    tasks   included   providing     philosophical   and   material

experimental support for other students in the lab in excess of several hundred hours,

as well as over a thousand hours of leukemia research work that, upon information

and belief, furthered the pecuniary interests of Dr. Paulson and his private business

enterprises independent of his work with Penn State.

      25.    Mr. Fraser was not paid for this additional work for Dr. Paulson nor

was Mr. Fraser given academic credit for the time so expended.



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      26.    Mr. Fraser believed that Dr. Paulson’s conduct constituted a violation

of his agreement with Penn State as expressed in the Program’s Degree Requirement

Handbook, which mandated, among other requirements, that advisors refrain from

“assigning duties or activities that are outside students’ academic responsibilities or

are detrimental to the timely completion of their degrees.”

      27.    Mr. Fraser further believed that these additional duties constituted a

diversion of Penn State resources and his own labor to Dr. Paulson’s personal benefit

and was concerned that they represented an impermissible conflict of interest

between his advisor and the University.

      28.    Mr. Fraser felt he had a moral obligation to take action and, despite

considerable personal risk, in or about 2017, Mr. Fraser decided to bring his concerns

to the attention of Penn State.

      29.    Given the scandal that this report likely would create, Mr. Fraser

decided to first raise this issue in a discreet manner within the Department.

      30.    As such, Mr. Fraser reported his concerns to two of the members of his

doctoral committee, Dr. Rolls and Dr. Read.

      31.    Citing fear of political reprisal by Dr. Paulson, who was extremely

influential within the Department, Dr. Rolls and Dr. Read indicated that they were

unwilling or unable to take appropriate action on any of the issues brought to their

attention by Mr. Fraser.


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         32.   This would be the only action taken by Dr. Rolls and Dr. Read until

several years later and shortly before Mr. Fraser’s thesis defense, when on or about

April 19, 2019, Mr. Fraser was called to a meeting with Dr. Rolls and Dr. Read.

         33.   At that meeting, Dr. Rolls informed Mr. Fraser that he had two options

as to how to proceed in the wake of his reports: (1) give up all his work completed

to that point and start his thesis over, presuming he could find a different advisor

willing to take him; or (2) file official complaints with the appropriate offices at Penn

State.

         34.   Given that he had already invested several years of his life in the

Program, Mr. Fraser opted for the second option and filed official reports of his

concerns with the appropriate Penn State officials.

         35.   Penn State began an investigation into Mr. Fraser’s claims but

subsequently declined to make any findings or take any action against Dr. Paulson.

         36.   Upon information and belief, Penn State declined to take action not

because there was no merit to Mr. Fraser’s claims, but rather because Penn State was

more interested in protecting its institutional reputation and that of a prominent

professor.

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        C.    DEFENDANTS BEGAN ENGAGING IN INCREASINGLY
              RETALIATORY CONDUCT AGAINST MR. FRASER, WHICH
              MATERIALLY AFFECTED HIS ABILITY TO COMPLY WITH
              THE REQUIREMENTS OF HIS PH.D. PROGRAM.

        37.   In the aftermath of the filing of Mr. Fraser’s complaints with Penn

State, Dr. Paulson began engaging in increasingly severe retaliatory conduct against

Mr. Fraser.

        38.   For example, on or about May 30, 2019, Dr. Paulson informed Mr.

Fraser in writing that he intended to withhold Mr. Fraser’s stipend support unless he

agreed to follow Dr. Paulson’s every direction regardless of whether Mr. Fraser

believed it presented a conflict of interest with Penn State or a violation of his

contract with the University.

        39.   Dr. Paulson made this threat despite the fact that Mr. Fraser’s stipend

was paid from grant funds Dr. Paulson had retained as a direct result of Mr. Fraser’s

Malaria research.

        40.   This forced Mr. Fraser to engage in yet further uncompensated work as

he did not wish his work within the scope of the Program to go uncompensated as

well.

        41.   On another occasion, Dr. Paulson spread accusations amongst the

Department that Mr. Fraser had failed to credit him on a conference presentation

when this accusation was patently untrue.



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        42.   This unfounded accusation caused substantial damage to Mr. Fraser’s

reputation amongst both his peers and professors within the Program.

        43.   On several other occasions, Dr. Paulson locked Mr. Fraser out of the

lab thereby denying him access to Departmental resources, such as the

copier/scanner, and precious time to continue work on experiments for his doctoral

research.

        44.   In addition to Dr. Paulson, several members of Mr. Fraser’s doctoral

committee also began taking adverse actions against him, including Drs. Rolls and

Read.

        45.   For example, in or about the fall 2019 semester, Dr. Rolls demanded

that Mr. Fraser turn over confidential data regarding his research despite having no

legal or contractual authority to do so, implying that she would involve law

enforcement authorities if her demands were not met.

        46.   In addition to Penn State faculty, Mr. Fraser’s fellow students soon

began to take actions adverse to his interests.

        47.   For example, in or about the fall 2016 semester, Mr. Fraser became the

target of a baseless complaint from a fellow student which resulted in Mr. Fraser

being subjected to an extensive Title IX investigation.

        48.   Said Title IX investigation would eventually clear Mr. Fraser of any

wrongdoing.


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         49.   Despite being cleared of all accusations of Title IX violations, Mr.

Fraser was barred from being in the lab at the same time as the accusing student and

consequently was forced to alter his own research work and schedule to

accommodate the complainant, imposing what amounted to a de facto restraining

order.

         50.   This prohibition was enforced so rigorously that Mr. Fraser was forced

to miss his own wife’s graduation celebration at Penn State due to the attendance of

this complainant.

         51.   Upon information and belief, these actions by his fellow students were

condoned and orchestrated by Defendant Paulson in retaliation for Mr. Fraser’s

previous complaints.

         52.   As a result of all of the above, Mr. Fraser was treated as a second-class

citizen within the Program, which caused him substantial emotional distress.

         53.   Nonetheless, Mr. Fraser persisted in his work and continued to advance

in his research and on his thesis, despite what was clearly a hostile relationship with

his advisor, Dr. Paulson.

         54.   While Mr. Fraser was struggling with this marked increase in the

hostility of his work environment, it was around this same time that Dr. Paulson

began making explicit requests for Mr. Fraser to devote large amounts of his time




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away from his thesis work and into other students’ projects and leukemia research

unrelated to his thesis.

55.      These requests on behalf of Dr. Paulson were explicitly forbidden by the

Molecular, Cellular and Integrative Biosciences (“MCIBS”) graduate school

handbook, the Penn State rules on graduate school fellows, namely GSAD-907,1 the




1
    Providing in relevant part that:

         Fellows/trainees appointed through the University may not be
         appointed as graduate assistants, accept employment, or render any
         service to the University during the period of their
         fellowship/traineeship, except with special permission for training
         purposes. Fellows/trainees appointed through the University may
         accept employment/service responsibilities that will further their
         academic and scholarly training with prior approval from the
         appointing unit, the fellow/trainees’ graduate program head, and (if
         applicable) the external funding agency.

Id.
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Program’s Degree Requirements Handbook2 and the bylaws governing Mr. Fraser’s

research practices as an NIH T32 fellow.3

         56.   As a result of this pattern of retaliatory conduct engaged in by Dr.

Paulson, and the deliberate inaction of Drs. Rolls and Read in response to Mr.

Fraser’s complaints, Mr. Fraser was unable to refocus his attention to his thesis work

until mid-2019.

         57.   Upon information and belief, no other student in Mr. Fraser’s lab was

similarly tasked with providing uncompensated labor in this manner during their

thesis work.


2
    Providing in relevant part that:

         Faculty Advisors/Mentors will:
         • provide an environment that is intellectually stimulating, emotionally
         supportive, safe, and free of harassment;
         • be supportive, equitable, accessible, encouraging, and respectful;
         • recognize and respect the cultural backgrounds of students;
         • be sensitive to the power imbalance in the student-advisor
         relationship;
         •avoid assigning duties or activities that are outside students’ academic
         responsibilities or are detrimental to the timely completion of their
         degrees;
         • respect student’s needs to allocate their time among competing
         demands, while maintaining timely progress towards their degree

Id. at 5.
3
 Providing in relevant part that fellows “must maintain fulltime work, defined as
equal to or greater than 40 hours on my thesis at all times [and] may only work a
maximum of 25% (10 hours) on non-thesis related work if permission has been
sought and granted.” Id.
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      58.    Upon information and belief, where other students were tasked with

similar projects, they were given additional monetary compensation or academic

credit for time spent thereon, and their work went toward completion of their theses.

      59.    Defendants provided no such compensation or credit to Mr. Fraser

despite his provision of equivalent work.

      60.    Upon information and belief, the conduct undertaken against Mr. Fraser

was not motivated by a valid exercise of professional judgment by the Defendants.

      61.    Upon information and belief, this course of conduct was punitive in

nature, motivated by bad faith and ill will on the part of the Defendants and unrelated

to Mr. Fraser’s academic performance.

      D.     MR. FRASER’S FIRST DEFENSE OF HIS DOCTORAL THESIS
             WAS MARKED BY PICAYUNE DEMANDS AND A FALSE
             ACCUSATION.

      62.    By fall 2019, Mr. Fraser had been working on his thesis for several

years and was at the point where he was completing the scientific research necessary

to support his conclusions.

      63.    In addition to his research coming to a conclusion, Mr. Fraser also was

eager to move on from the increasingly hostile work environment that Dr. Paulson’s

lab had become.

      64.    As such, Mr. Fraser began petitioning the members of his Dissertation

Committee to schedule a date for his thesis defense.


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      65.    Mr. Fraser felt confident in his chances given that, as of mid-2019, there

had been no mention to Mr. Fraser by any Committee member that there was any

concern whatsoever regarding Mr. Fraser’s performance as a Ph.D. candidate.

      66.    In addition, at that time, Mr. Fraser had never received any negative

feedback from any Committee member regarding Program benchmarks, his

selection of courses or personal evaluations.

      67.    Mr. Fraser was, by all accounts, considered to be an outstanding student

who was mere months away from graduating and resuming a career in which he had

excelled back in Boston.

      68.    In the summer 2019 and fall 2019 semesters, Mr. Fraser attended

several meetings with Committee members in which they delineated their

expectations if Mr. Fraser wished to successfully defend his thesis and be awarded

his Ph.D.

      69.    Mr. Fraser insisted that these requirements be specified with

particularity to allay his concerns regarding Dr. Paulson’s continuing hostility and

unwillingness to render such assistance as would typically be expected of a thesis

advisor.

      70.    The requirements of the Committee included several additional

experiments that Mr. Fraser needed to conduct; requests with which Mr. Fraser duly

complied.


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      71.    The Committee also imposed an uncharacteristically short deadline to

finalize his thesis and prepare his defense, affording him just one month to do so

before his thesis defense date in December 2019.

      72.    However, Mr. Fraser was not particularly concerned because, in an

email dated November 1, 2019, Dr. Rolls explicitly told Mr. Fraser that, as long as

he passed his oral defense at the end of the fall 2019 semester, he would be allowed

to turn in his completed thesis in the spring 2020 without issue.

      73.    Shortly thereafter, approximately one week before the scheduled date

of his thesis defense, Drs. Paulson and Rolls began raising last minute concerns

regarding Mr. Fraser’s thesis document.

      74.    Mr. Fraser was perplexed somewhat by Defendants’ criticisms because

they related not to the scientific substance of his research, but rather to the level of

“polish” of the thesis document itself; a document Dr. Rolls said could be submitted

in spring 2020.

      75.    Mr. Fraser’s confusion was heightened by the fact that he knew of

several colleagues that had been awarded their degree with dissertations much less

“polished” than his own.

      76.    Despite the seemingly arbitrary input of the Committee members, Mr.

Fraser worked relentlessly over the following days to implement all of their input

and suggested revisions.


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      77.    Then, just two days before the scheduled defense, it was cancelled by

the Committee.

      78.    The Defendant Committee members instructed Mr. Fraser to go home

to Boston over winter break, write a new version of his thesis document, and defend

it in the first week of January before the official start to the spring 2020 semester.

      79.    Mr. Fraser duly complied with the Committee’s request, spending his

winter break rewriting and revising the thesis document.

      80.    Again, days before the rescheduled thesis defense, Drs. Paulson and

Rolls resumed claiming Mr. Fraser’s thesis document was insufficiently “polished”

to proceed to defense.

      81.    At this point, Dr. Read, Mr. Fraser’s Committee Chair, stepped in and

authorized the defense to proceed because of the significance of the underlying

science detailed in the thesis.

      82.    Dr. Read wrote Mr. Fraser an email the day before the defense stating

that both Drs. Paulson and Rolls were “gunning to fail” him, but Dr. Read assured

Mr. Fraser that if he “kept quiet and went with the flow,” he would get his degree.

      83.    On the day of his defense, Mr. Fraser gave a presentation that was well

received by his audience and fielded all questions from attendees.

      84.    However, during the subsequent private oral defense before the

Committee, proceedings took a decidedly hostile turn.


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      85.       First, Drs. Paulson and Rolls spent much of the presentation

bombarding Mr. Fraser with disruptive questions regarding the life cycle of

Plasmodium (i.e., the parasites which cause Malaria) despite such questions being

largely irrelevant to the topic of Mr. Fraser’s thesis.

      86.       The Committee then spent much of the remaining time commenting on

the lack of a finalized methods section and references list in the thesis document,

sections which were not required to be present at the time of the defense and were

only absent because of the extensive rewrites mandated by Drs. Paulson and Rolls.

      87.       At the conclusion of the defense, the Committee failed Mr. Fraser,

ostensibly citing the above criticisms as justification for their decision.

      88.       Upon information and belief, a substantial contributing factor to the

Committee’s decision to fail Mr. Fraser were unsubstantiated claims leveraged by

Dr. Paulson that Mr. Fraser had fabricated some of the data supporting his

dissertation.

      89.       Upon information and belief, Dr. Paulson knew or should have known

that these claims were false at the time he made them, and his motivation in doing

so arose from actual malice toward Mr. Fraser.

      90.       That the Committee’s decision was motivated by malice and personal

enmity toward Mr. Fraser is further evidenced by that fact that, in addition to failing

Mr. Fraser, Defendants also opted to strip him of his stipend and health insurance,


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despite being on full notice that Mr. Fraser required frequent hospital stays to treat

his Hemophilia.

       91.    Upon information and belief, Defendants stripped Mr. Fraser of his

stipend and health insurance to force him to quit the Program rather than stand for a

second thesis defense.

       92.    Needless to say, Mr. Fraser and his family were absolutely devastated

by this result.

IV.    MR. FRASER FULLY COMPLIED WITH THE COMMITTEE’S
       REQUESTED REVISIONS WHILE PREPARING FOR HIS SECOND
       THESIS DEFENSE.

       93.    On or about January 9, 2020, Mr. Fraser received a letter discussing the

outcome of his failed January oral defense.

       94.    In said letter, the Committee ostensibly cited the failure of Mr. Fraser

to field the largely irrelevant questions regarding the lifecycle of the parasite causing

Malaria.

       95.    The other sections of the letter discussed stylistic issues with the thesis

document itself.

       96.    The following day, Mr. Fraser received an email from Dr. Read in

which he stated: “I can assure you that if you address all the issues listed in my letter

of Jan 9, you will get the degree.”




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      97.    Based upon this representation from Dr. Read, and the further

representations addressed below, Mr. Fraser scrupulously addressed each and every

one of the critiques before his second thesis defense.

      98.    Shortly thereafter, on or about January 20, 2020, Mr. Fraser received a

letter from the associate dean of the Penn State Graduate School, Dean Ades, which

formalized the expectations set forth in the January 9 letter.

      99.    The letter from the associate dean provided specific procedural steps

and guidelines for Mr. Fraser’s revisions to his written thesis and how those revisions

would be reviewed and commented upon by the Committee members.

      100. With regard to commentary by Committee members on Mr. Fraser’s

research notes, this letter provided that members would “indicate exactly what type

of information should be included.”

      101. The letter further provided that the Committee members would only

allow the second oral examination to proceed if “the dissertation is found to be

complete or requiring only minor revisions.”

      102. In the email to Mr. Fraser attaching the January 20 letter, Dean Ades

stated as follows: “Your committee, the graduate program in MCIBS, and the

Graduate School are confident you can achieve a positive outcome if the items in the

attached memo are accomplished as outlined.”




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      103. In     conjunction,     Mr.     Fraser   reasonably     interpreted   these

communications as assuring him that he would receive his Ph.D. if he complied with

all of the requests and revisions suggested by the Committee.

      104. In reliance thereon, Mr. Fraser began the incredibly labor-intensive and

time-consuming process of revising his written thesis in accordance with the

Committee’s mandates.

      105. Mr. Fraser worked upwards of seventy hours per week in the spring

2020 term to revise his dissertation in accordance with the guidelines set forth in the

documents discussed above, while also complying with the protocols for uploading

his drafts and his data to the cloud for review by, and feedback from, his Committee.

      106. Unbeknownst to Mr. Fraser, even as he was laboring to comply with

their feedback, members of his Committee, including Dr. Rolls and Dr. Paulson,

were petitioning the Dean to expel Mr. Fraser without even giving him the

opportunity for a second thesis defense.

      107. On March 21, 2020, it was communicated to Dean Ades that Mr.

Fraser’s revised draft thesis had been uploaded to the cloud and was ready for review

and comments from the Committee.

      108. The Committee initially provided some minor commentary, but the

bulk of the feedback and requests for revisions came from Dr. Paulson.




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         109. Rather than providing the clear feedback mandated by the Program’s

Degree Requirement Handbook4 and January 20 letter, the feedback given by Dr.

Paulson was unhelpful and often times contradictory.

         110. These contradictory instructions included repeated requests that Mr.

Fraser re-insert sections he had previously been instructed to delete, or vice versa.

         111. Despite the conflicting instructions he had been given, Mr. Fraser

worked tirelessly to revise his thesis in accordance with the directions given by Drs.

Paulson and Read.

         112. On or about May 14, 2020, just a week before Mr. Fraser was scheduled

to defend his thesis a second time, Dr. Read indicated that the Committee would not

allow it to proceed unless the sections dealing with Malaria were once again moved

within the document.




4
    The relevant provisions thereof state that dissertation advisors will:

         • set clear expectations and goals for students regarding their research
           and thesis;
         • discuss policies and expectations for work hours, vacation time and
           health contingencies;
         • meet regularly and individually with students to provide feedback on
           research progress and expectations (weekly meetings are
           recommended);
         • provide students with training and oversight in the design of research
           projects, development of necessary skills, use of rigorous research
           techniques, and all other aspects of research.
Id.
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      113. Shortly thereafter, the Committee began making increasingly onerous

demands regarding access to Mr. Fraser’s supporting data.

      114. In another instance, on or about June 29, 2020, mere weeks before the

ultimately rescheduled oral examination, Dr. Paulson sent Mr. Fraser an email

demanding that he draft and upload detailed explanations of each of the myriad

experiments supporting his thesis.

      115. This demand further required that figures in this thesis document be

cross referenced with said data, which required major revisions to the document Mr.

Fraser was in the process of finalizing.

      116. Dr. Paulson made these onerous demands despite the requested

explanations being contained within the body of the thesis document and being

wholly duplicative of separate documents Mr. Fraser already had provided to Dr.

Paulson.

      117. Mr. Fraser interpreted these wholly unnecessary requests as being a bad

faith stalling tactic on Dr. Paulson’s part rather than being motivated by legitimate

academic concern or inquiry.

      118. Mr. Fraser’s interpretation was later confirmed insofar as, after he had

uploaded all of the additional documents requested by Dr. Paulson, no feedback was

provided regarding any of the data, and it seems unlikely that the data ever was

actually even reviewed by Dr. Paulson or any other member of the Committee.


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      119. Upon information and belief, no other graduate student at Penn State

had been expected to upload data and analyses in such a detailed fashion or been

required to upload all of these things prior to a defense taking place.

      120. Upon information and belief, the Committee’s increasingly onerous

demands on Mr. Fraser and refusal to provide coherent feedback to him were

motivated by personal enmity against Mr. Fraser and not any legitimate academic

concern.

      121. On or about June 30, 2020, Dean Ades emailed Mr. Fraser with

instructions regarding how to structure his data files for the upcoming oral defense.

      122. Notably, this June 30 email was the only advice and guidance Mr.

Fraser was given with respect to the second oral defense by Committee members.

      123. Regarding the data and file instructions, Mr. Fraser worked around the

clock over the next week to complete this late-required task.

      124. By July 7, 2020, Mr. Fraser had completed this request and uploaded

the data, organized according to Dr. Paulson’s request.

      125. In the interim, Mr. Fraser worked with Penn State’s Student Disability

Resources office to coordinate disability accommodations for his second thesis

defense.

      126. The accommodation ultimately approved involved the Committee

asking Mr. Fraser questions through an interlocutor, Dean Ades.


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      127. Mr. Fraser requested this as an accommodation for his clinical anxiety,

which was caused by the repeated, onerous and unfair demands made by his

Committee over the preceding eight months.

      128. Shortly thereafter, on or about July 16, 2020, Dean Ades notified Mr.

Fraser by email that his second thesis defense would occur less than a week later, on

July 22, 2020.

      129. In that same email, Dean Ades provided some general advice regarding

preparing for the oral defense, which consisted of a list of general topics he may be

questioned on during the defense.

      130. Notably, this was the second and final time Mr. Fraser was provided

with any direction or guidance by the Committee regarding his oral defense.

      131. In essence, this meant that Mr. Fraser was going into his oral defense

with almost no guidance regarding what was expected of him.

      132. Upon information and belief, the Committee members deliberately

declined to provide any guidance to Mr. Fraser regarding his oral defense because

they were intentionally setting up Mr. Fraser to fail.

      133. Defendants’ failure to provide guidance to Mr. Fraser also was in clear

breach of Penn State Graduate School policy GAC 608, which states that the

Committee is required to provide the Program’s doctoral candidates “clear criteria

for evaluation” on final oral examinations.


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      134. In the final days before Mr. Fraser’s second oral defense of his thesis,

Dr. Read also began taking increasingly hostile actions toward Mr. Fraser.

      135. For example, Mr. Fraser requested that Dr. Read write a

recommendation that Mr. Fraser could use in applying for positions after he was

confirmed as receiving his Ph.D.

      136. It was Mr. Fraser’s hope that Dr. Read still would recommend him as a

professional courtesy despite the strained relationship between the two of them.

      137. In response, Dr. Read not only declined to write the recommendation

but also completely disavowed all of his work and affiliation with Mr. Fraser,

refusing to render any further assistance in helping Mr. Fraser get his research

published and going so far as instructing Mr. Fraser to exclude Dr. Read’s name

from all publications detailing the years of research on which they had collaborated.

      138. In effect, Dr. Read’s comments indicated that Mr. Fraser’s Committee

chair was washing his hands of any affiliation with Mr. Fraser and was unlikely to

be an impartial party to the proceedings.

      139. Mr. Fraser suspected that Dr. Read’s conduct was motivated by

personal enmity rather than the quality of Mr. Fraser’s dissertation because Dr. Read

had: (1) submitted a letter supporting Mr. Fraser for an award for the quality of his

dissertation work in 2018; (2) reaffirmed his support for Mr. Fraser receiving said

award in an October 31, 2019 email; (3) on several occasions told Mr. Fraser and


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other’s that the work they were doing was the most important in the Malaria field in

over eighty years; and (4) even paid for Mr. Fraser’s stipend out of Dr. Read’s own

pocket when Dr. Paulson apparently was preparing to make good on a threat to

withhold said stipend from Mr. Fraser.

      140. Upon information and belief, Dr. Read would not have supported Mr.

Fraser’s award nomination for the quality of his dissertation work if he did not

believe it was Ph.D. worthy.

      A.     DESPITE A SEEMINGLY SUCCESSFUL SECOND THESIS
             DEFENSE, THE COMMITTEE STILL FAILED MR. FRASER
             AND EJECTED HIM FROM THE PROGRAM.

      141. On the day of his second thesis defense, Mr. Fraser felt fully prepared

and was hopeful that he would be treated in good faith by the Committee.

      142. Mr. Fraser’s confidence was bolstered further by the fact that he had

fully addressed all of the written criticisms provided to him in the aftermath of his

first defense.

      143. In the course of his second oral thesis defense, Mr. Fraser answered

every question he was asked by the Committee, no follow-up questions were asked

of him, and no disagreements with his answers were interposed by the Committee.

      144. In fact, Mr. Fraser perceived that the mood was friendly and jovial

during the defense, with no hint that he had not delivered a successful defense.




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       145. Mr. Fraser felt he delivered a passing performance at the oral

examination, without question.

       146. Mr. Fraser, therefore, was extremely disappointed though not entirely

surprised (based on the history described in detail above) to receive word from the

Committee that they had failed him a second time.

       147. Adding insult to injury, the Committee further indicated Mr. Fraser

would be ejected from the Program without the Ph.D. into which he had invested

years of his life, countless hours of incredibly hard work, and enough emotional

strain to last a lifetime.

       148. Mr. Fraser knew Defendants failed him and ejected him from the

Program not because he deserved to fail or because his scientific achievement in the

Program was unworthy of a Ph.D.; he knew Defendants had failed him and ejected

him from the Program because of personal animosity and ill will against him.

       149. In the aftermath of Mr. Fraser’s second thesis defense, he polled a

number of participants in the Program regarding precedents for being failed on

grounds of the oral defense alone.

       150. The consensus of this poll revealed that no other student in living

memory of the Program had been dismissed as a result of a failed oral defense.

       151. Moreover, if the Committee felt before the second defense that Mr.

Fraser was in danger of failing that defense, they had an obligation and duty under


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relevant Penn State Graduate School Policies to render guidance to Mr. Fraser and

extend the date of the oral defense if success was not possible.5




5
    The relevant Penn State policy sections read as follows:

         The primary responsibility of the Ph.D. Committee is to guide the broad
         scholarly development of the Ph.D. student, including direct
         responsibility for guidance and assessment of the student’s dissertation
         research and academic progress toward the Ph.D. degree.

Penn State Graduate School Policy GAC § 603.1.

         3. If any committee member finds that the draft submitted to them is
         not correct and polished with respect to content and style, it is their
         responsibility to notify the chair at least one week in advance of the
         final oral examination date. The committee member should indicate
         their concerns regarding the draft and recommend consideration of
         postponement of the examination to the chair.

               a. The chair, in consultation with committee members, is
               responsible for notifying the student and assessing whether the
               student can make the necessary revisions to the draft before the
               examination date.

               b. If it is determined that revisions cannot be made in time, the
               examination must be postponed.

               c. If differences of opinion on this matter exist among committee
               members, and these cannot be resolved within the committee
               itself, the head of the graduate program must be consulted to hear
               the expressed concerns and determine whether the examination
               should be postponed.

Id. § 607 (emphasis added).
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      152. In or about early August 2020, Mr. Fraser received a memo from his

Committee providing vague and substantially generic reasoning for failing him at

his second defense.

      153. The only specific criticism leveled was that “[t]hroughout the oral

defense, [Mr. Fraser] made conclusions that extended far beyond the data

presented.”

      154. Notably, none of these criticisms were provided to Mr. Fraser prior to

his second oral defense, despite his conclusions being expressly stated in his thesis

document, nor were any such criticisms raised on the day of the oral defense itself.

      B.      MR. FRASER’S APPEAL OF HIS DISMISSAL FROM THE
              PROGRAM WAS NEITHER FAIR NOR IMPARTIAL
              BECAUSE IT WAS OVERSEEN BY THE SAME COMMITTEE
              MEMBERS WHO HAD FAILED HIM IN THE FIRST
              INSTANCE.

      155. Shortly after receiving notice that the Committee had chosen to fail him

and expel him from the Program, Mr. Fraser initiated an appeal of the decision with

Penn State.

      156. Mr. Fraser followed all administrative requirements imposed by Penn

State to the letter and fully exhausted his administrative remedies prior to filing the

instant action.




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         157. Shortly before the appeal hearing, Mr. Fraser was outraged to learn that

the appeal panel would be made up of the very same professors who had failed him

in the first instance, including the above-named individual defendants.

         158. Unfortunately, relevant Penn State rules prevented Mr. Fraser from

contesting the appeal panel assignments, and he was forced to proceed.

         159. Mr. Fraser met with the Appeal Committee on January 20, 2021.

         160. Mr. Fraser gave a presentation regarding why he had, in fact, earned his

Ph.D., according to the standards established by the Program and his Committee.

         161. Mr. Fraser further detailed his history in the Program, the ways he was

mistreated during his time in the Program, and the devastating impact the

Committee’s decision to deny him his Ph.D. had on Mr. Fraser and his family.

         162. Somewhat unsurprisingly, only two members of the Appeal Committee

asked Mr. Fraser questions: Drs. Paulson and Rolls, and those brief questions were

overtly biased and not geared toward actually exploring the merits of Mr. Fraser’s

appeal.

         163. In fact, Drs. Paulson and Rolls’ comments were so antagonistic toward

Mr. Fraser that the appeal moderator had to remind them repeatedly to keep things

civil.




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       164. Mr. Fraser eventually was dismissed from the appeal meeting, with the

Appeal Committee continuing their deliberation in a secret proceeding without Mr.

Fraser’s participation.

       165. On or about January 25, 2021, Mr. Fraser received a decision from the

Appeal Committee denying his appeal and affirming their prior determination.

       166. In that decision, the Appeal Committee noted several suspect grounds

supporting their decision to uphold the denial of his appeal.

       167. Upon information and belief, these reasons constituted ex post facto

justifications when in reality the decision was motivated by the personal animus held

by the Committee members toward Mr. Fraser.

       168. One of the pretexts stated for the denial of the appeal was that Mr.

Fraser’s “appeal did not address the primary cause for his failure during the oral

defense.”

       169. In fact, the appeal documents fully addressed this issue and the fact that

the Committee held as much suggests that either they did not truly believe this

justification or did not even bother to review Mr. Fraser’s appeal documents in the

first instance.

       170. In another instance, the Committee claimed that Mr. Fraser “was

unwilling to take feedback from the committee and incorporate it adequately into his

dissertation.”


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       171. As discussed above, the Committee hardly provided any feedback to

 Mr. Fraser whatsoever, and Mr. Fraser diligently incorporated what feedback was

 provided into his final thesis document.

       172. In short, the Appeal Committee’s conclusion was simply a regurgitation

 of the inaccurate and arbitrary reasoning given by the Committee in its decision to

 fail Mr. Fraser on his second defense.

       173. Shortly after receiving the decision of the Appeal Committee, on or

 about January 27, 2021, Mr. Fraser appealed the results of his appeal, this time to

 the office of the Dean of the Penn State Graduate School, Dr. Regina Vasilatos-

 Younken.

       174. Shortly thereafter, Dean Vasilatos-Younken issued a decision affirming

 the decision of the Appeal Committee without substantial comment.

       175. With this decision affirming the prior Appeal Committee decision, Mr.

 Fraser had exhausted his administrative remedies within the Penn State system.

       176. The present action ensues.

V.     MR. FRASER WAS NEVER COMPENSATED FOR THE WORK HE
       PERFORMED THAT WAS NOT A PART OF HIS EDUCATION
       PROGRAM.

       177. Mr. Fraser performed research services, at Dr. Paulson’s request and

 with Dr. Paulson’s knowledge, for which Ph.D. students were customarily paid by

 Penn State.

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      178. Mr. Fraser’s services requested by Dr. Paulson were in support of Dr.

Kester and his company, Keystone Nano, a corporate entity established to

commercialize intellectual property shared between Dr. Kester, Penn State

University and others, and were not part of Mr. Fraser’s education Program; though,

despite not being an explicit requirement of the Program, Mr. Fraser working for

free (effectively as an indentured servant) was an implicit requirement of obtaining

his Ph.D. degree.

      179. Nevertheless, Mr. Fraser agreed to perform the research requested by

Dr. Paulson with the understanding that Mr. Fraser would be rewarded for his efforts

based on longtime practice.

      180. Dr. Paulson controlled the result of Mr. Fraser’s work and directed the

manner in which the work was accomplished.

      181. Penn State, Dr. Paulson, Dr. Kester, and the private entity, Keystone

Nano, availed themselves of and benefitted from Mr. Fraser’s services.

      182. Upon information and belief, neither Dr. Paulson nor Dr. Kester nor

Keystone Nano ever requested that Penn State pay Mr. Fraser for his services

performed for their benefit.




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        183. Penn State, via the actions of Dr. Paulson, its employee, and Keystone

Nano, via the actions of Dr. Kester, its employee, willfully failed to pay Mr. Fraser,

and Mr. Fraser received no pay for the work he performed outside the scope of his

Ph.D. program.

        184. At times, Mr. Fraser performed more than 40 hours of such work per

week.

        185. Mr. Fraser is entitled to compensation for his work performed.

                                    COUNT I
          RETALIATION FOR CONSTITUTIONALLY-PROTECTED
               FIRST AMENDMENT SPEECH – 42 U.S.C. § 1983
        (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

        186. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

        187. The federal and Pennsylvania constitutions grant citizens the right to

freely express their views on matters of public concern.

        188. Mr. Fraser had a constitutionally protected interest in his continued

employment by Penn State in his capacity as a graduate student and research fellow.

        189. Mr. Fraser engaged in acts of protected speech and petitioning activity

when he commented on a matter of public concern, specifically by bringing the

perceived abuse of Penn State resources and federal funds by Dr. Paulson to the

attention of relevant parties within the Penn State administrative structure.



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      190. Dr. Paulson, both individually and in concert with the other Defendants,

took adverse action against Mr. Fraser for his acts of protected speech sufficient to

chill a person of ordinary firmness from continuing in that activity, including, but

not limited to, losses of privileges and culminating in his termination from his

position in the Program.

      191. Dr. Paulson’s actions, both individually and in concert with the other

Defendants, were improperly motivated at least in part by Mr. Fraser’s exercise of

his rights to freedom of speech.

      192. Dr. Paulson’s actions, both individually and in concert with the other

Defendants, exhibited a reckless or callous disregard of and/or indifference to Mr.

Fraser’s protected constitutional rights.

      193. Mr. Fraser has been harmed by Defendants’ actions, and he seeks

damages in an amount to be determined at trial.

                                  COUNT II
            DENIAL OF CONSTITUTIONALLY-PROTECTED
        SUBSTANTIVE DUE PROCESS RIGHT – 42 U.S.C. § 1983
      (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

      194. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      195. The federal and Pennsylvania constitutions protect against deprivations

of life, liberty, or property without due process of law.



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      196. Mr. Fraser has a constitutionally-protected interest in his pursuit of an

education.

      197. Mr. Fraser has a constitutionally-protected property interest in his

continued enrollment in the Program and the anticipated conferral of his Ph.D.

      198. As a graduate student, Mr. Fraser was entitled to due process before he

was dismissed from the Program.

      199. Mr. Fraser ostensibly was discharged on the grounds that the

Committee felt that a third oral defense would not be successful and therefore was

unwarranted.

      200. Upon information and belief, the decision to discharge Mr. Fraser was

actually based upon bad faith or ill will unrelated to academic performance and was

therefore arbitrary and capricious.

      201. Mr. Fraser was entitled to both notice and a hearing before his dismissal

from the Program.

      202. Mr. Fraser was not put on notice or given an opportunity to be heard on

the topic of whether a third defense would be successful before his dismissal from

the Program.

      203. University policies authorized Mr. Fraser’s dissertation Committee

members, in their capacities as University faculty, to judge all aspects of Mr. Fraser’s

performance in the Program.


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      204. The Individual Defendants, acting under the authority given them by

the University, dismissed Mr. Fraser from the Program without providing him any

notice or a hearing.

      205. Defendants’ dismissal of Mr. Fraser from the Program constituted state

action.

      206. Defendants’ dismissal of Mr. Fraser from the Program without

providing a pre-dismissal notice and a hearing deprived him of a constitutionally-

protected interest without due process, in violation of the federal and Pennsylvania

constitutions.

      207. Defendants’ deprivation of Mr. Fraser’s constitutionally-protected

interest without due process damaged Mr. Fraser by halting his pursuit of a Ph.D.,

rendering him unemployable or underemployable in his chosen field, and harming

him financially in an amount to be determined at trial.

                                 COUNT III
            DENIAL OF CONSTITUTIONALLY-PROTECTED
        PROCEDURAL DUE PROCESS RIGHT – 42 U.S.C. § 1983
      (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

      208. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      209. The federal and Pennsylvania constitutions protect against deprivations

of life, liberty, or property without due process of law.



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      210. Mr. Fraser has a constitutionally-protected interest in his pursuit of an

education.

      211. Mr. Fraser has a constitutionally-protected property interest in his

continued enrollment in the Program.

      212. As a graduate student, Mr. Fraser was entitled to due process before he

was dismissed from the Program.

      213. Upon information and belief, the decision to dismiss Mr. Fraser was

based in substantial part upon unsubstantiated accusations by Dr. Paulson that Mr.

Fraser had fabricated data.

      214. Mr. Fraser was entitled to a presumption of innocence with regard to

the unfounded claims of data fabrication absent both notice and an impartial hearing

to determine the veracity of such claims.

      215. Mr. Fraser was not put on notice or given an opportunity to be heard on

the topic of the alleged data fabrication matter.

      216. University policies authorized Mr. Fraser’s dissertation Committee

members, in their capacities as University faculty, to judge all aspects of Mr. Fraser’s

performance in the Program.




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      217. The Individual Defendants, acting under the authority given them by

the University, accounted for the alleged data fabrication in their decision to dismiss

Mr. Fraser from the Program without providing him any notice or a hearing on the

matter.

      218. Defendants’ dismissal of Mr. Fraser from the Program constituted state

action. Defendants’ consideration of the unfounded data fabrication claims in

determining whether to dismiss Mr. Fraser from the Program without providing any

pre-dismissal notice and an impartial hearing deprived him of a constitutionally-

protected interest without due process, in violation of the federal and Pennsylvania

constitutions.

      219. Defendants’ deprivation of Mr. Fraser’s constitutionally-protected

interest without due process damaged Mr. Fraser by halting his pursuit of a Ph.D.,

rendering him unemployable or underemployable in his chosen field, and harming

him financially in an amount to be determined at trial.

                                 COUNT IV
            DENIAL OF CONSTITUTIONALLY-PROTECTED
        PROCEDURAL DUE PROCESS RIGHT – 42 U.S.C. § 1983
      (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

      220. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      221. The federal and Pennsylvania constitutions protect against deprivations

of life, liberty, or property without due process of law.
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      222. Mr. Fraser has a constitutionally-protected interest in his pursuit of an

education.

      223. Mr. Fraser has a constitutionally-protected property interest in his

continued enrollment in the Program.

      224. As a graduate student, Mr. Fraser was entitled to due process in the

course of his appeals of the Committee’s decision to deny him his Ph.D. and eject

him from the Program.

      225. The appeal in question constituted an adjudicative proceeding

conducted by a state actor.

      226. Mr. Fraser was entitled to a hearing before a fair and impartial tribunal,

free of bias for or against the parties in question.

      227. Mr. Fraser’s appeal raised questions of the bias and bad faith conduct

of the members of his dissertation Committee and addressed this issue in the course

of the hearing.

      228. The tribunal convened by the University to hear Mr. Fraser’s appeal

was made up of the very same faculty members who were the subject of Mr. Fraser’s

complaints on appeal in the first instance.




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      229. Because the members of the appeal tribunal had a vested interest in

upholding the decision of the dissertation Committee and protecting their

professional reputations, the appeal tribunal necessarily were not free of bias for or

against a particular party.

      230. The Individual Defendants, acting under the authority given them by

the University, declined to recuse themselves from sitting in judgment on Mr.

Fraser’s appeal and issued a decision to uphold the determination of the dissertation

Committee.

      231. Defendants’ denial of Mr. Fraser’s appeal constituted state action.

      232. Defendants’ failure to recuse themselves from sitting in judgment on

an appeal in which they necessarily knew there was a high probability of actual bias

deprived Mr. Fraser of a constitutionally-protected interest without due process, in

violation of the federal and Pennsylvania constitutions.

      233. Defendants’ deprivation of Mr. Fraser’s constitutionally-protected

interest without due process damaged Mr. Fraser by halting his pursuit of a Ph.D.,

rendering him unemployable or underemployable in his chosen field, and harming

him financially in an amount to be determined at trial.




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                                  COUNT V
                         BREACH OF CONTRACT
      (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

      234. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      235. The University and Program policies and guidance letters provided to

Mr. Fraser and referenced herein above created contractual duties on the part of the

University, Program, and their representatives.

      236. As a matriculated student at the University, Mr. Fraser was a

contractual beneficiary of the University’s policies.

      237. As a matriculated student in the Program, Mr. Fraser was a contractual

beneficiary of the Program’s policies.

      238. The University, through the named Individual Defendants, breached its

obligations under the University and/or Program policies and guidance letters

referenced above by: (1) failing to provide Mr. Fraser with any meaningful guidance

in advance of either of his oral defenses; and (2) declining to award Mr. Fraser his

Ph.D. even after he had fulfilled all of the required terms.

      239. Mr. Fraser fulfilled his obligations under all applicable University-

specific policies.

      240. Mr. Fraser fulfilled his obligations under all Program-specific policies.




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       241. Mr. Fraser fulfilled his obligations under all guidance letters provided

to him in the aftermath of his first thesis defense.

       242. The University’s breaches of its obligations under the applicable

policies caused Mr. Fraser to suffer damages in an amount to be determined at trial.

                                  COUNT VI
                   BREACH OF IMPLIED COVENANT OF
                    GOOD FAITH AND FAIR DEALING
       (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

       243. Mr. Fraser realleges and incorporates by reference all paragraphs above

as if specifically set forth herein.

       244. The agreements between the parties delineating the terms under which

Mr. Fraser would receive his Ph.D., including relevant University and Program

policies and guidance letters supplied to Mr. Fraser in the aftermath of his first thesis

defense, contained an implied covenant of good faith and fair dealing.

       245. Each unnecessary and burdensome requirement imposed upon Mr.

Fraser regarding his research data was done in bad faith and to deprive him of the

Ph.D. he had rightfully earned.

       246. Upon information and belief, the withdrawal of stipend support and

health insurance in the aftermath of his first thesis defense, despite knowing that Mr.

Fraser is a severe hemophiliac, was done in bad faith and to deprive him of the Ph.D.

he had rightfully earned.



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      247. Upon information and belief, Dr. Paulson’s accusations of data

fabrication were done in bad faith and to deprive Mr. Fraser of the Ph.D. he had

rightfully earned.

      248. Defendants chose to terminate Mr. Fraser’s participation in the Program

in bad faith, in a decision based upon personal enmity and malice rather than upon

acceptable academic concerns.

      249. Mr. Fraser has been harmed by Defendants’ actions and seeks damages

in an amount to be determined at trial.

                                 COUNT VII
         PROMISSORY ESTOPPEL/DETRIMENTAL RELIANCE
      (Against Defendants Penn State, Dr. Paulson, Dr. Rolls, and Dr. Read)

      250. Mr. Fraser realleges and incorporates by reference all paragraphs above

as if set forth verbatim herein.

      251. Dr. Read promised Mr. Fraser that, despite the fact Drs. Paulson and

Rolls were “gunning to fail” Mr. Fraser, he would receive his Ph.D. if he kept quiet

and went with the flow at his first oral thesis defense.

      252. Dr. Read promised Mr. Fraser that he would receive his Ph.D. if he

addressed all of the critiques raised by the Committee in the aftermath of his first

thesis defense, writing: “I can assure you that if you address all the issues listed in

my letter of Jan 9, you will get the degree.”




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      253. Defendants reasonably should have expected that their promises would

induce Mr. Fraser to act in reliance thereon.

      254. Mr. Fraser reasonably relied upon Defendants’ promises to his

detriment.

      255. As a result, Mr. Fraser was damaged, and injustice can be avoided only

by enforcing Defendants’ promises.

      256. Mr. Fraser has been harmed thereby and seeks damages in an amount

to be determined at trial.

                                   COUNT VIII
                   DEFAMATION PER SE AND DEFAMATION
                   (Against Defendants Penn State and Dr. Paulson)

      257. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      258. Upon information and belief, since in or about December 2019, Dr.

Paulson has published statements, both oral and written, about Mr. Fraser to each

member of his dissertation Committee, including Drs. Rolls and Read.

      259. On information and belief, to these individuals, Dr. Paulson has stated

that Mr. Fraser was dishonest, had failed to credit Dr. Paulson on a conference

presentation where such credit was expected, and falsified his dissertation data

and/or findings.

      260. Dr. Paulson’s statements that Mr. Fraser was dishonest were false.


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      261. Dr. Paulson’s statements that Mr. Fraser had failed to appropriately

credit him on a conference presentation were false.

      262. Dr. Paulson’s statements that Mr. Fraser falsified his dissertation data

were false.

      263. Dr. Paulson’s statements that Mr. Fraser falsified his dissertation

findings were false.

      264. Dr. Paulson’s false statements about Mr. Fraser falsifying his

dissertation data and dissertation findings were defamatory per se in that they

charged him with conduct incompatible with the exercise of a lawful business, trade,

profession, office, or practice.

      265. Dr. Paulson made one or more defamatory statements against Mr.

Fraser out of ill will, evidencing his malice toward Mr. Fraser.

      266. Dr. Paulson made one or more defamatory statements against Mr.

Fraser without reasonably believing such statements, evidencing his malice toward

Mr. Fraser.

      267. Dr. Paulson published his defamatory statements against Mr. Fraser

excessively, evidencing his malice toward Mr. Fraser.

      268. Dr. Paulson’s publication of these false statements damaged Mr. Fraser,

including his reputation, in an amount to be determined at trial.




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                                  COUNT IX
                     BREACH OF FIDUCIARY DUTIES
                 (Against Defendants Penn State and Dr. Paulson)

      269. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      270. As Mr. Fraser’s dissertation advisor, Dr. Paulson was in a position to

have and exercise influence over Mr. Fraser.

      271. Dr. Paulson’s status as Mr. Fraser’s dissertation mentor placed Dr.

Paulson in a position of superiority over Mr. Fraser.

      272. Dr. Paulson’s status as Mr. Fraser’s dissertation mentor caused Mr.

Fraser to place peculiar confidence in Dr. Paulson respecting Mr. Fraser’s

dissertation.

      273. As Mr. Fraser’s dissertation mentor, Dr. Paulson, in fact, had and

exercised influence over Mr. Fraser.

      274. Dr. Paulson’s dissertation mentor-mentee relationship with Mr. Fraser

was a fiduciary relationship under Pennsylvania law.

      275. Based on his dissertation mentor-mentee relationship with Mr. Fraser,

Dr. Paulson had a duty under Pennsylvania law to act primarily for Mr. Fraser’s

benefit respecting their dissertation mentor-mentee relationship, rather than for his

own benefit.

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      276. Dr. Paulson breached his fiduciary duty to Mr. Fraser when he:

                a. Required Mr. Fraser to engage in additional uncompensated

                   work in Dr. Paulson’s lab without compensation or academic

                   credit that fairly should have been expected;

                b. Personally benefited from Mr. Fraser’s uncompensated labor;

                c. Threatened to withhold stipend support unless Mr. Fraser

                   continued to provide additional, uncompensated labor;

                d. Revoked Mr. Fraser’s lab access so that he could not access vital

                   equipment or engage in necessary experimentation to support his

                   dissertation;

                e. Withdrew stipend support and health insurance coverage after

                   Mr. Fraser’s first thesis defense despite being on notice that Mr.

                   Fraser was a severe Hemophiliac;

                f. Engaged in the bad faith stalling tactic of imposing greater data

                   disclosure than was expected of other similarly-situated graduate

                   students; and

                g. Accused Mr. Fraser of fabricating his dissertation data.

      277. Dr. Paulson’s breach of his fiduciary duty to Mr. Fraser caused him to

suffer damages in an amount to be determined at trial.




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                                  COUNT X
       VIOLATION OF PENNSYLVANIA MINIMUM WAGE ACT,
            ACT OF JUNE 23, 1978, P.L. 537, No. 93, §§ 201-207
                       (43 P.S. §§ 1301.201-1301.207)
  (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

      278. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      279. Mr. Fraser performed research services, at Dr. Paulson’s request and

with Dr. Paulson’s knowledge, for which Ph.D. students were customarily paid by

Penn State.

      280. Mr. Fraser’s services requested by Dr. Paulson in support of Dr. Kester

and his company, Keystone Nano, a corporate entity established to commercialize

intellectual property shared between Dr. Kester, Penn State University and others,

were not part of Mr. Fraser’s education Program; though, despite not being an

explicit requirement of the Program, Mr. Fraser working for free (effectively as an

indentured servant) was an implicit requirement of obtaining his Ph.D.

      281. Nevertheless, Mr. Fraser agreed to perform the research requested with

the understanding that he would be rewarded for his efforts based on longtime

practice.

      282. Dr. Paulson controlled the result of Mr. Fraser’s work and directed the

manner in which the work was accomplished.




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      283. Penn State, Dr. Paulson, Dr. Kester, and the private entity, Keystone

Nano, availed themselves of and benefitted from Mr. Fraser’s services.

      284. Upon information and belief, Dr. Paulson and Dr. Kester never

requested that Penn State or Keystone Nano pay Mr. Fraser.

      285. Penn State, via the actions of Dr. Paulson, its employee, and Keystone

Nano, via the actions of Dr. Kester, its employee, willfully failed to pay Mr. Fraser,

and Mr. Fraser received no pay for the work he performed outside the scope of his

Ph.D. Program.

      286. At times, Mr. Fraser performed more than 40 hours of work per week.

      287. Mr. Fraser is entitled to compensation for work performed in an amount

to be determined at trial plus costs and attorney’s fees pursuant to the Pennsylvania

Minimum Age Act.

                                COUNT XI
      VIOLATION OF PENNSYLVANIA WAGE PAYMENT AND
COLLECTION LAW, ACT OF JULY 14, 1961, P.L. 637, No 329, as amended,
          July 14, 1977, P.L. 82, No. 30 (43 P.S. §§ 260.1 et seq.)
    (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

      288. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      289. The Wage Payment and Collection Law provides in relevant part:

“Every employer shall pay all wages, ..., due to his employees on regular paydays




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designated in advance by the employer. Overtime wages may be considered as

wages earned and payable in the next succeeding pay period.” 43 P.S. § 260.3.

      290. By its actions alleged above, Penn State and Keystone Nano violated

the provisions of the Wage Payment and Collection Law, 43 P.S. §§ 260.1 et seq.

      291. As a result of Penn State’s and Keystone Nano’s unlawful acts, Mr.

Fraser has been deprived of compensation in amounts to be determined at trial, and

he is entitled to recovery of such amounts, and liquidated damages, together with

costs and attorneys’ fees pursuant to the Wage Payment and Collection Law, 43 P.S.

§§ 260.9a, 260.10.

                                 COUNT XII
     BREACH OF IMPLIED CONTRACT / UNJUST ENRICHMENT
  (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

      292. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      293. Mr. Fraser and Dr. Paulson agreed that Mr. Fraser would perform

services requested by Dr. Paulson on behalf of Dr. Kester and Keystone Nano under

circumstances indicating that Mr. Fraser would be compensated for this work.

      294. Expectation of compensation was a result of longtime practice of the

Department and Penn State wherein graduate students and post-doctoral students,

including Emily Finch and Diwakar Basthili, respectively, were compensated above

and beyond their academic stipends for work performed on behalf of Dr. Paulson,


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Dr. K. Sandeep Prabhu, and the various corporate entities that were structured to

commercialize intellectual property shared between Dr. Paulson, Dr. Prabhu, and

Penn State University.

      295. Mr. Fraser justifiably relied upon this past practice in accepting the

work requested by Dr. Paulson above and beyond what was expected of him as a

pre-doctoral student in the Program.

      296. Penn State and Keystone Nano violated the covenants of good faith and

fair dealing by their failure to pay Mr. Fraser.

      297. Under the circumstances, it would be inequitable for Penn State and

Keystone Nano to continue to retain Mr. Fraser’s wages.

      298. Penn State and Keystone Nano were unjustly enriched in the amount of

the value of Mr. Fraser’s services.

      299. Mr. Fraser was damaged in an amount to be determined at trial.

                          COUNT XIII
   VIOLATION FOR FAILURE TO MAINTAIN EMPLOYMENT AND
   PAYMENT RECORDS, ACT OF NOV. 26, 1978, P.L. 1212, No. 286, as
             amended, Nov. 29, 1990, P.L. 596, No. 149
                      (43 P.S. §§ 1321-1324)

  (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

      300. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.




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      301. For purposes of work Mr. Fraser performed outside the scope of his

Ph.D. Program, Penn State and Keystone Nano were Plaintiff’s employers. See 43

P.S. § 1321.

      302. Pennsylvania law requires Penn State and Keystone Nano to keep clear,

accurate and complete employment and payroll records in Mr. Fraser’s personnel

file as defined at 43 P.S. § 1321.

      303. Accordingly, 43 P.S. § 1322 requires Penn State and Keystone Nano to

keep clear, accurate and complete employment and payroll records in Mr. Fraser’s

personnel file.

      304. Penn State and Keystone Nano have failed to keep true and accurate

time records for all hours worked by Mr. Fraser.

                               COUNT XIV
  FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF THE FAIR
       LABOR STANDARDS ACT OF 1938, 29 U.S.C. §§ 201, et seq.
     (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

      305. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

      306. Penn State and Keystone Nano failed to pay Mr. Fraser for all hours

worked by Mr. Fraser outside the scope of his Ph.D. program.

      307. Mr. Fraser suffered damages in an amount to be determined at trial.



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                                COUNT XV
  FAILURE TO PAY OVERTIME IN VIOLATION OF THE FAIR LABOR
           STANDARDS ACT OF 1938, 29 U.S.C. §§ 201, et seq.
     (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

         308. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

         309. At times, Mr. Fraser worked more than 40 hours per week on the non-

degree-related work requested of him by Dr. Paulson.

         310. As a result of the failure to pay Mr. Fraser at a rate of one and one half

times the hourly wage he was owed, Penn State and Keystone Nano have violated

the overtime requirement provision of the Fair Labor Standards Act.

         311. Mr. Fraser has suffered damages in an amount to be determined at trial.

                                  COUNT XVI
      FAILURE TO MAINTAIN TIME RECORDS IN VIOLATION OF THE
       FAIR LABOR STANDARDS ACT OF 1938, 29 U.S.C. §§ 201, et seq.
        (Against Defendants Penn State, Dr. Paulson, Keystone Nano, and Dr. Kester)

         312. Mr. Fraser realleges and reincorporates all preceding allegations as

though set forth verbatim herein.

         313. The Fair Labor Standards Act requires Penn State and Keystone Nano

to maintain true and accurate time records for all hours worked by Mr. Fraser outside

the scope of his Ph.D. Program.

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VI.    JURY CLAIM

       The Plaintiff claims a trial by jury for all issues so triable.

VII.   PRAYER FOR RELIEF

       WHEREFORE, Mr. Fraser prays for relief as follows:

       1.     That a monetary judgment be entered in favor of Mr. Fraser and against

              the University in an amount to be determined at trial;

       2.     That a monetary judgment be entered in favor of Mr. Fraser and against

              Dr. Paulson in an amount to be determined at trial;

       3.     That a monetary judgment be entered in favor of Mr. Fraser and against

              Dr. Rolls in an amount to be determined at trial;

       4.     That a monetary judgment be entered in favor of Mr. Fraser and against

              Dr. Read in an amount to be determined at trial;

       5.     That a monetary judgment be entered in favor of Mr. Fraser and against

              Keystone Nano in an amount to be determined at trial;

       6.     That a monetary judgment be entered in favor of Mr. Fraser and against

              Dr. Kester in an amount to be determined at trial;

       7.     That the Court declare the letters delineating necessary revisions Mr.

              Fraser received in the aftermath of his first oral thesis defense are

              binding on the University, that Mr. Fraser could rely upon the




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      representations therein, that Mr. Fraser complied with his obligations

      under the letters, that the University discharged him from the Program

      in violation of the plan set forth in the letters, and that Mr. Fraser is

      entitled to a remedy for the University’s breach, including, but not

      limited to, specific performance, which would require that he be

      reinstated into the Program and awarded his Ph.D.

8.    That the University be enjoined from continuing its enforcement of its

      discharge of Mr. Fraser from the Program, ordered to reinstate him into

      the Program, and ordered to grant him his Ph.D. in accordance with the

      terms of the letters received by Mr. Fraser in the aftermath of his first

      oral thesis defense.

9.    For the full amount of unpaid wages, in an amount to be determined at

      trial.

10.   For the liquidated damages in an amount equal to the pay Mr. Fraser

      should have received pursuant to the Pennsylvania Minimum Wage

      Law and the Fair Labor Standards Act

11.   For the pre-judgment interest at the highest level rate, from and after

      the date of service of the initial complaint in this action, on all unpaid

      wages from the date such wages were earned and due.




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12.   For injunctive and declaratory relief described herein, as the Court

      deems appropriate.

13.   For recovery of Mr. Fraser’s attorneys’ fees and costs incurred in

      pursuit of this action.

14.   For punitive damages.

15.   For such and other relief as this Court deems appropriate.

Dated this 17th day of May, 2022.

                                Respectfully Submitted,

                                _/s/Michael A. Farnan______________
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